
644 S.E.2d 228 (2007)
David JONES, T/A Royal Cleaners and Laundry
v.
TOWN OF ANGIER; and Angier &amp; Black River Fire Department, Inc.
No. 80P07.
Supreme Court of North Carolina.
March 8, 2007.
Cathryn M. Little, Raleigh, for Town of Angier.
Edgar R. Bain, Lillington, for Jones.
Robert W. Sumner, Meredith T. Black, Raleigh, for Angier &amp; Black River Fire Dept.
Prior report: ____ N.C.App. ____, 638 S.E.2d 607.

ORDER
Upon consideration of the petition filed on the 6th day of February 2007 by Defendant (Town of Angier) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th day of March 2007."
